Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 1 of 8
Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 2 of 8
Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 3 of 8
Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 4 of 8
Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 5 of 8
Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 6 of 8
Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 7 of 8
Case 17-31934-JKS   Doc 49   Filed 09/18/18 Entered 09/18/18 15:29:18   Desc Main
                             Document     Page 8 of 8
